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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                             June 02, 2022
                                  UNITED STATES DISTRICT COURT
                                                                                          Nathan Ochsner, Clerk
                                   SOUTHERN DISTRICT OF TEXAS
                                       MCALLEN DIVISION

UNITED STATES OF AMERICA,      §
                               §
     Plaintiff,                §
                               §
VS.                            §
                                 CIVIL ACTION NO. 7:19-cr-00522-1,3
                               §
RICARDO QUINTANILLA and ARTURO §
C. CUELLAR                     §
                               §
     Defendants.               §

                                                 ORDER

           The      Court   now    considers   “Defendant   Quintanilla’s   Unopposed   Motion        for

Reconsideration of Order Denying Defendant’s Unopposed Motion for Continuance of Trial”1 and

“Government’s Response to Defendant Quintanilla’s Unopposed Motion for Reconsideration of

Order Denying Defendant’s Unopposed Motion for Continuance of Trial.”2 In light of the motion,

the Court finds that an additional Status Conference is necessary in this case. Accordingly, the

Court hereby CANCELS the Jury Selection previously set for June 13, 2022 and ORDERS the

parties to appear for a Status Conference on June 13, 2022 at 9 a.m.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 2nd day of June 2022.


                                                        __________________________________
                                                                    Micaela Alvarez
                                                               United States District Judge




1
    Dkt. No. 343.
2
    Dkt. No. 344.


1/1
